




Dismissed and Memorandum Opinion filed November 30, 2006








Dismissed
and Memorandum Opinion filed November 30, 2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00194-CV

____________

&nbsp;

ALL PLAY, INC., Appellant

&nbsp;

V.

&nbsp;

STONEWEAR, INC.,
Appellees

&nbsp;



&nbsp;

On Appeal from the 125th District Court

Harris County, Texas

Trial Court Cause No. 03-68709

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a judgment signed December 27, 2005.&nbsp; On November 15, 2006,
appellant filed an unopposed motion to dismiss the appeal because the case has
been settled. See Tex. R. App. P.
42.1.&nbsp; The motion is granted.

Accordingly,
the appeal is ordered dismissed.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

PER
CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed
November 30, 2006.

Panel consists of Justices Anderson, Hudson, and Guzman.





